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                                                               March 18, 2015


Via ECF

Adm. Daniel E. O’Toole
Circuit Executive & Clerk of Court
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, D.C. 20439

       Re:     Lexmark Int’l Corp. v. Impression Products, Inc., Nos. 14-1617, -1619

Dear Admiral O’Toole:

       By letter dated March 9, 2015, we reported that, in response to a discussion during the
March 6th oral argument regarding the confidentiality of a stipulation found in the Joint
Appendix at A2554–66, the parties had agreed to waive confidentiality with respect to these
pages and to ask the District Court to remove these pages from the scope of its protective order.
The parties asked the District Court to do so, and the District Court instructed the parties that the
confidential designation for these pages could be removed by filing a stipulation to that effect
with the court. That stipulation, a copy of which is attached, was filed on March 17th, and so
Appendix pages A2254–66 need no longer be treated as confidential.

      Please let us know if you have any questions of if we can be of any other assistance.
Thank you.



                                                                                Very truly yours,

                                                                                /s/ Constantine L. Trela, Jr.

                                                                                Constantine L. Trela Jr.

cc: Edward F. O’Connor, Esq.

Attachment




                      Sidley Austin LLP is a limited liability partnership practicing in affiliation with other Sidley Austin partnerships.
